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December 23, 2020 i] i! CTRONICALLY FILED
or
By ECF PILED: jalzolee
Honorable Kimba M. Wood
United States District Judge M EMO [ [ ( RSED

Southern District of New York
500 Pear! Street
New York, NY 10007

Re: United States v. Lorenzo Almanzar

19 Cr. 919 (KMW)
Dear Judge Wood:

I write with the consent of the government to respectfully request an adjournment of
approximately 60 days of the scheduled sentence date of January 20, 2021.

This request is made to permit Mr. Almanzar, who is not in custody, to appear in person
for his sentence proceeding.

Thank you for your attention to this matter.

Stent ACING I> Ahjoucaga Mery truly yours
Masth 3/ , 2oal, at ||.00am.- Defendant's
SUbMissivan 1S Aue hu March (7. Orvanneat
Submission is dus oy Math ay.

ect AUSA Jarrod Schaeffer
USPO Paul Hay

 

ames Roth, Esq.

SO ORDERED: N.Y., N.Y. 1a (sofas

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KIMBA M. WOOD
USD.
